Case 3:18-cv-01979-DMS-MDD Document 15-2 Filed 07/02/18 PageID.4399 Page 1 of 4




                  Appendix B
Case 3:18-cv-01979-DMS-MDD Document 15-2 Filed 07/02/18 PageID.4400 Page 2 of 4



                 DECLARATIONS CITED IN PLAINTIFF STATES’
                       MOTION TO EXPEDITE DISCOVERY


   Exhibit       Declarant
   Number
   1             Declaration of Levy, Taylor
   2             Declaration of Poletti, Alma
   3             Declaration of Ramos, Nicole
   4             Declaration of Caceres, Olivia
   5             Declaration of Tapia, Veronica
   6             Declaration of Gonzalez.-Garcia, Angelica
   7             Declaration of Olivia & Jimenez
   8             Declaration of CCB
   9             Declaration of G. Doe
   10            Declaration of L. Doe
   11            Declaration of Paz Rodriguez
   12            Declaration of Arriaga Pineda, Doris
   13            Declaration of Garcia Castillo, Elizabeth
   14            Declaration of Aguirre Vega, Demaris
   15            Declaration of Monroy Guerra, Gladys
   16            Declaration of Dubon Mejia, Maria
   17            Declaration of Batres, Maricela
   18            Declaration of Sanchez Rodriguez, Maritza
   19            Declaration of Flores-Oliva, Nery
   20            Declaration of Padilla-Orellana, Yolani
   21            Declaration of WR
   22            Declaration of Mensing, Alexander
   23            Declaration of Langarica, Monica
   24            Declaration of Roberts-Henry, Gloria
   25            Declaration of Blumenauer, Rep. Earl
   26            Declaration of Jayapal, Congresswoman Pramila
   27            Declaration of Perhot, Marjean
   28            Declaration of Ford, Tara
   29            Declaration of Griffith, Alison M.
   30            Declaration of Mostoffi, Bitta
   31            Declaration of Gilmore, Harry
   32            Declaration of Beyer, Congressman Donald
   33            Declaration of Bellor, Kay
   34            Declaration of Podkul, Jennifer
   35            Ruppersberger III, Congressman Charles Albert Dutch
   36            Declaration of Serrano, Francisco
   37            Declaration of Austria, Richard
   38            Declaration of Velez, Laura



                                                                       Appendix B
Case 3:18-cv-01979-DMS-MDD Document 15-2 Filed 07/02/18 PageID.4401 Page 3 of 4



   39            Declaration of Jose Francisco, Margarita
   40            Declaration of Fanjoy, Emily
   41            Declaration of Aronson, Emary
   42            Declaration of Wong, Thomas
   43            Declaration of Greenberg, Mark
   44            Declaration of Lennox, Lindsay
   45            Declaration of Kimoto, Joni
   46            Declaration of Banko, Evelyn
   47            Declaration of Margles, Judy
   48            Declaration of Briggs, Laura
   49            Declaration of Jones, Martha
   50            Declaration of Leckman, Dr. Lane
   51            Declaration of Houshyar, Shadi
   52            Declaration of Sheppard, Marylee
   53            Declaration of Alvarez, Mayra
   54            Declaration of Gallegos, Joseph
   55            Declaration of Castillo, Linda
   56            Declaration of Martinez, Marta
   57            Declaration of Brown, Laura
   58            Declaration of Roche, Kathleen
   59            Declaration of Escudero, Pia
   60            Declaration of Bradbury, Donna
   61            Declaration of Culley, Tania
   62            Declaration of Matos, Maria
   63            Declaration of Torrijos, Javier
   64            Declaration of Guinn, Barbara
   65            Declaration of Chen, Jean
   66            Declaration of Reeves, Reuben
   67            Declaration of Curatone & Skipper
   68            Declaration of Torlakson, Tom
   69            Declaration of Cantwell, Mari
   70            Declaration of Lee, Rebecca
   71            Declaration of Ruiz, Marcela
   72            Declaration of Manning, Josette
   73            Declaration of Bourqe, Mary
   74            Declaration of Tahiliani, Priya
   75            Declaration of Korte, Daron
   76            Declaration of Possin, Laurie
   77            Declaration of Zimmerman, Marie
   78            Declaration of Beyer, Christine
   79            Declaration of Zucker, Howard
   80            Declaration of Cechnicki, Brian
   81            Declaration of Katz, Dr. Mitchell
   82            Declaration of Allen, Pat
   83            Declaration of Nazarov, Emily



                                                                   Appendix B
Case 3:18-cv-01979-DMS-MDD Document 15-2 Filed 07/02/18 PageID.4402 Page 4 of 4



   84            Declaration of Bates, Jordan
   85            Declaration of Gonzalez, Deborah
   86            Declaration of Lane, James
   87            Declaration of Bouchey, Heather
   88            Declaration of Schatz, Kenneth
   89            Declaration of Schilling, Lisa
   90            Declaration of Allison, Doug
   91            Declaration of Fourre, Laressa
   92            Declaration of Happold, Stephanie
   93            Declaration of Meierbachtol, Dierk
   94            Declaration of Yanagida, Carl
   95            Declaration of Aranowski, Jeffrey
   96            Declaration of Weiss, Alice
   97            Declaration of Perry-Manning, Susan
   98            Declaration of Sinski, David
   99            Declaration of Peterson, Sarah




                                                                   Appendix B
